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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO
                                  Judge William J. Martínez

   Civil Action No.13-cv-3206-WJM-KMT

   CREW TILE DISTRIBUTION, INC.,

          Plaintiff and CounterDefendant,

   and

   RYAN A. DAVIS,
   DARLYNE A. DAVIS,
   GLENN L. DAVIS,
   SHANA L. BASTEMEYER,
   PARADIGM TILE & STONE DISTRIBUTORS, LLC, and
   G&D DAVIS HOLDINGS, LLC,

          CounterDefendants,

   v.

   PORCELANOSA LOS ANGELES, INC.,
   PORCELANOSA NEW YORK, INC.,
   PORCELANOSA TEXAS, CORP., and
   PORVEN, LTD.,

          Defendants and CounterClaimants.



                  AMENDED ORDER ENTERING FINDINGS OF FACT AND
                    RULING ON EQUITABLE CLAIMS AND DEFENSES


          This business dispute pending under 28 U.S.C. § 1332 proceeded to a jury trial

   from March 13–24, 2017, and a jury verdict entered on the parties’ legal claims.

   (See ECF No. 355.)1 At the Court’s direction, the parties submitted proposed findings

   of fact and post-trial briefs on their equitable claims. (ECF Nos. 357, 370–82.) The

          1
            The Court granted Summary Judgment and Judgment as a Matter of Law against
   certain claims pursuant to Fed. R. Civ. P. 56 & 50(a), respectively. (See ECF Nos. 236, 341.)
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   Court now enters this Order setting out its findings of fact and rulings on the parties’

   equitable claims and defenses.

                               I. PROCEDURAL BACKGROUND

          Plaintiff, Crew Tile Distribution, Inc. (“Crew Tile”), initiated this action on

   November 22, 2013, bringing a claim for breach of contract and related claims against

   Defendants Porcelanosa Los Angeles, Inc., Porcelanosa New York, Inc., Porcelanosa

   Texas, Corp., and Porven, Ltd. (together, “Porcelanosa” or “Defendants”). (ECF No. 1.)

          Porcelanosa in turn asserted counterclaims against Crew Tile and certain of its

   principals and employees, including Ryan A. Davis, Darlyne A. Davis, Glenn L. Davis,

   and Shana L. Bastemeyer, as well as against two related business entities, Paradigm

   Tile & Stone Distributors, LLC (“Paradigm”), and G&D Davis Holdings, LLC. (ECF No.

   132 at 19–51.) 2 In addition, in asserting counterclaims for declaratory judgment and for

   piercing the corporate veil, Porcelanosa described CounterDefendant G&D Davis

   Holdings, LLC and two additional entities, the Radicchio Domestic Trust and the

   Stardust Domestic Trust, as “Alter Ego Defendants.” (Id. at 48–51.)

          Following the Court’s rulings on the parties’ motions for summary judgment (ECF

   No. 236) and mid-trial motions for judgment as a matter of law, only Crew Tile’s claim

   for breach of contract and Porcelanosa’s counterclaim for abuse of process were

   submitted to the jury, which returned a verdict in Porcelanosa’s favor on both claims.

   The Court reserved ruling post-trial on the parties’ equitable claims and defenses.



          2
           Defendants originally named the CounterDefendants other than Crew Tile as “Third
   Party Defendants,” but the Court concluded they were more properly captioned as
   Counterclaim Defendants (i.e., CounterDefendants). (See ECF No. 225.)

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   These include Crew Tile’s claim for unjust enrichment/quantum meruit, and

   Porcelanosa’s counterclaims for declaratory judgment and piercing the corporate

   veil/alter ego liability. Porcelanosa also now seeks an award of attorneys’ fees as a

   sanction under the Court’s inherent powers. (See ECF No. 375 at 10–11.)

                        II. BACKGROUND AND FINDINGS OF FACT

          The Court has previously described in detail the underlying facts and the nature

   of this case, including in the Court’s Summary Judgment Order. (ECF No. 236.) Only a

   brief summary is set out below to provide context for the present rulings. More detailed

   facts are not repeated, and familiarity with the case and the parties and witnesses is

   presumed. The Court sets out below those findings of disputed facts that are directly

   material to the present rulings.

   A.     Summary of Dispute

          Porcelanosa is a family of companies based in Spain that manufactures and

   distributes tile products. Crew Tile was a Denver-area company that sold

   Porcelanosa’s products from approximately 2009 through 2013, although the nature of

   that business relationship is centrally disputed here.

          Crew Tile initiated this lawsuit for breach of contract and related claims on

   November 22, 2013, alleging that the parties had entered into a contract in Decem ber

   2009 (the “Distributor Agreement”), making Crew Tile the exclusive distributor of

   Porcelanosa products in most of Colorado (excluding Pitkin County) for at least five

   years. (See ECF No. 85 ¶¶ 12–14; ECF No. 250 at 2–3.) Crew Tile alleged that

   Porcelanosa purposefully breached that Distributor Agreement beginning in 2012 by



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   selling products through other dealers, and later by directly taking over distribution of its

   products into Colorado (through a Texas subsidiary), beginning in 2013. In particular,

   Crew Tile claimed it was owed a $2.5 million termination or buyout payment under the

   terms of the Distributor Agreement. (ECF No. 250 at 3–4.)

          Porcelanosa acknowledged that Crew Tile had been one of many dealers of its

   products in Colorado, but denied that Crew Tile had ever been a distributor, or that

   Crew Tile ever held any exclusive rights regarding sale or distribution of Porcelanosa

   products. Further, Porcelanosa alleged that it never signed or entered into the 2009

   Distributor Agreement, had never seen the document prior to this litigation, and that the

   document “is fraudulent” representing “a conspiracy to create a falsified agreement and

   seek payment under it.” (ECF No. 250 at 5.) Porcelanosa theref ore brought a

   counterclaim for abuse of process and related counterclaims. (Id. at 6–7.)

          As set out above, after a lengthy trial, the jury returned a general verdict in

   Porcelanosa’s favor, finding Crew Tile had not proved its breach of contract claim, and

   finding in favor of Porcelanosa on its abuse of process claim against Crew Tile, Ryan

   Davis, and Darlyne Davis, and awarding Porcelanosa damages of $460,000. 3 (ECF

   No. 355.)

   B.     Findings of Fact

          The Court finds the following facts were proven by a preponderance of the




          3
           The jury found CounterDefendant Shana Bastemeyer was not liable on Defendants’
   abuse of process claim.

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   evidence admitted at trial.4

          1.     Falsification of Distribution Agreement

   1.     A preponderance of the evidence shows that the alleged Distribution Agreement

          was not a legitimate or enforceable contract entered into by Porcelanosa.

   2.     A preponderance of the evidence shows that Crew Tile, acting through its

          principals, including Ryan Davis and Darlyne Davis, falsified the Distribution

          Agreement or participated in doing so.

   3.     As a corollary, a preponderance of the evidence shows that at the time Crew Tile

          filed this lawsuit, Crew Tile, Ryan Davis, and Darlyne Davis knew or should have

          known that the Distributor Agreement was not a valid or enforceable contract.

   4.     A non-exhaustive summary of evidence supporting the above findings includes:

          a.     Although Crew Tile alleged the Distributor Agreement was prepared by

                 Porcelanosa, it includes terms that are nonsensical in the context of

                 Porcelanosa’s tile products. For example, the Distributor Agreement

                 contemplates return of tiles for repair at Porcelanosa’s factory (Ex. 46,

                 ECF No. 85-1 at 4, ¶ V.1), seeks to void warranty terms “if . . . [Crew Tile]

                 attempts to make any internal changes to” the tiles, or if “the serial



          4
             Where specific testimony or evidence is cited, the Court finds that evidence was
   credible and probative as to the Court’s findings. In many instances, contrary evidence was
   also introduced, as many of the relevant facts were contested at trial. This Order in no way
   attempts to address all of the voluminous evidence admitted at trial. Neither all of evidence
   which supported the Court’s findings is cited, nor does the Court attempt to explain or
   distinguish every piece of contrary evidence. The facts set out here were, in the Court’s view,
   proven by a preponderance of the evidence after weighing and considering all of the
   voluminous and competing evidence, and the Court’s findings also reflect its evaluation of the
   witnesses’ credibility. Facts that are not enumerated here but are discussed in Part III below
   also reflect the Court’s findings by a preponderance of the evidence.

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                  number plate is removed” (id. at 6, ¶ V.2). It includes a clause covering

                  “Patent indemnity,” although no patents were at issue. (Id. at 4, ¶ IV.2.)

                  This clause addressed remedies related to altering the “compatibility with

                  the hardware or firmware comprising the Product or the software utilized

                  thereon,” although Porcelanosa’s tiles do use or comprise firmware or

                  software. (Id. at 4, ¶ IV.2.)5

          b.      Given such obviously irrelevant terms, the Court agrees with

                  Porcelanosa’s business practices expert, Mr. M. Kent McSparran (see

                  generally Tr. at 1980–81), who testified that the Distributor Agreement

                  was “clearly drafted for some sort of technical product,” not for

                  Porcelanosa’s tile products (Tr. at 1993).

          c.      The Distributor Agreement also included spelling, typographical, and

                  similar errors inconsistent with Crew Tile’s claim that it had been prepared

                  by Porcelanosa. For instance, the agreement purports to be entered on

                  behalf of “Porcelanosa USA,” which is a trade name but not the name of

                  any legal entity. (Ex. 46 at 1.) The agreement mis-spelled the names of

                  product lines it supposedly covered and included at least one product line




          5
         All citations to materials filed in the docket are to the page number indicated in the
   CM/ECF header, which sometimes differs from the documents’ internal pagination.

           Citations using the abbreviation “Ex.” are to exhibits admitted into evidence at trial. (See
   generally ECF Nos. 345, 347.) Where possible, the Court includes parallel citations to copies
   of those trial exhibits as filed in the Court’s docket (i.e., to the “ECF No.”), although not all
   exhibits admitted at trial have been filed in the docket. (See ECF No. 356.)

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                  that did not exist in December 2009. (Id.; Tr. 781–83.)6 Mr. Francisco

                  “Paco” Montilla Soto (“Mr. Montilla”), then General Manager of

                  Porcelanosa-Los Angeles, testified there was no way he would have

                  signed the agreement, or authorized any one else to do so, given such

                  errors. (Tr. at 1216.)

          d.      These errors make Crew Tile’s claim that the document was prepared and

                  executed by Porcelanosa’s employees in 2009 not credible.

          e.      Likewise, given Ryan Davis’s previous employment for Porcelanosa and

                  knowledge of their products, it is not credible that he would have executed

                  the Distributor Agreement while believing in good faith that it had been

                  prepared by Porcelanosa or represented a valid contract.

          f.      The fact that the Distributor Agreement contains a $2.5 million minimum

                  buyout or termination clause in favor of Crew Tile (Ex. 46. at 5, ¶ VI(2.)(c))

                  underscores the non-credibility of Crew Tile’s claim that it was negotiated,

                  prepared, and executed by Porcelanosa. More likely than not, business

                  parties would not enter such a high stakes agreement without carefully

                  negotiating and reviewing its terms and removing obvious errors. This

                  finding is supported by Mr. McSparran’s testimony (see, e.g., Tr. at 1981,

                  1992 (an “exclusive distribution arrangement is . . . a pretty rare thing,”

                  typically negotiated with advice of counsel)), by evidence that neither

                  Mr. Montilla nor Mr. Handley was authorized to bind Porcelanosa on a


          6
              Citations to trial testimony (“Tr.”) are to the respective pages in the Court Reporter’s
   trial transcript, docketed at ECF Nos. 359–69.

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               contract of such magnitude (see Tr. at 1217), and by common sense and

               experience.

         g.    Mr. McSparran explained that using an Internet search he found a

               template agreement reflecting that the Distributor Agreement had been

               obviously but clumsily derived from the online template. (Tr. at 1986–88.)

         h.    Mr. McSparran testified that many substantive terms of the Distributor

               Agreement were highly unusual or made no sense in the context of the

               commercial relationship between Crew Tile and Porcelanosa. (See Tr. at

               1990–96.) In particular, he characterized the $2.5 million termination

               clause payable to Crew Tile as “unbelievable” and “completely irrational

               from a business perspective,” given the “very slanted” benefits conferred

               on Crew Tile without corresponding value conveyed to Porcelanosa, and

               that this is “[u]nusual because typically, if anything, a contract slants the

               other way because they’re typically drafted by the manufacturer.” (Tr. at

               1993, 2032–33.)

         i.    Mr. McSparran’s testimony regarding the highly unusual terms of the

               Distributor Agreement was credible and consistent with common sense

               and the evidentiary record as a whole.

         j.    Given the evidence summarized above, it is more likely than not that the

               person or persons who drafted the Distributor Agreement did so with the

               purpose of attempting to confer unusual benefits upon Crew Tile.

         k.    Jack Handley, who Crew Tile alleges signed the Distributor Agreement,

               testified unequivocally that he did not do so, and that had never seen it

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               before 2013. (Tr. at 783:11–13.)

         l.    No persuasive explanation was offered for why Mr. Handley allegedly

               signed the Distributor Agreement, rather than Mr. Montilla, who was the

               general manager of Porcelanosa-Los Angles and Mr. Handley’s superior,

               given the Davises’ allegation that although Mr. Montilla was present at the

               time of the alleged execution of the Distributor Agreement, he directed a

               subordinate employee, Mr. Handley, to sign the multi-million dollar

               agreement. (Tr. at 335.) In the Court’s view, Crew Tile’s version of this

               event is not credible, and defies both commonly accepted business

               practices as well as common sense.

         m.    Mr. Montilla testified that he did not remember Mr. Handley signing the

               Distributor Agreement, and that he was certain he had not directed Jack

               Handley to sign it and had not watched this occur, contrary to Crew Tile’s

               allegations. (Tr. at 1200.)

         n.    Mr. Montilla further testified that he had no knowledge of Crew Tile acting

               as a Porcelanosa Distributor. (Tr. at 1143.) To the contrary, he testified

               that Crew Tile had been a dealer like other dealers. (Tr. at 1144.) He

               testified that “[i]n the U.S. we [Porcelanosa] just don’t work with

               distributors,” and that it would have been inconsistent with Porcelanosa

               policy to enter into such an agreement, because “[w]e simply don’t work

               with distributors, and we wouldn’t have given exclusive rights to a

               distributor.” (Tr. at 1197, 1201.) The comparatively little evidence

               arguably contradicting this testimony was not probative overall, in that it

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                  related to distributors outside the United States or constituted use of the

                  term “distributor” in informal or non-binding contexts.

           o.     During the relevant timeframe after December 2009, Mr. Handley, as

                  Porcelanosa’s sales representative for Colorado,7 repeatedly directed

                  Crew Tile’s employees to remove the language from e-mail signatures

                  representing that Crew Tile was the “exclusive” provider of Porcelanosa

                  products in Colorado. (ECF No. 382-10 at 4–5 (M. Sudovich testifying

                  that Mr. Handley directed her to remove language describing Crew Tile

                  from her e-mails “[m]aybe a dozen times,” but that Ryan Davis directed

                  her to ignore this direction and “keep it on there”); ECF No. 382-9 at 4–5.)

           p.     No current or former Porcelanosa employee who testified had seen the

                  Distributor Agreement or was aware of its existence prior to the

                  communications leading up to this lawsuit. (See, e.g., ECF No. 380-10 at

                  154:14–24; Tr. at 871–72, Tr. at 1195; Tr. at 1523.)

           q.     Similarly, Adela Stransky testified (via deposition) that when she worked

                  for Crew Tile in late 2010 and early 2011, Ryan Davis claimed he was

                  then negotiating for the exclusive right to sell Porcelanosa products, but

                  that no such rights were in place at the time. (ECF No. 380-11 at 6.)

           r.     The testimony of the witnesses who denied that Porcelanosa had entered

                  into the Distributor Agreement, including Mr. Handley and Mr. Montilla,

                  was supported by the substantial weight of the documentary,


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            The disputed evidence regarding the change of Mr. Handley’s title or responsibilities at
    Porcelanosa-Los Angeles at different times does not alter the Court’s findings and rulings.

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               circumstantial, and directly supporting evidence. The contrary testimony

               by the Davises found far less support in the evidentiary record as a whole.

    5.   Additional evidence undercutting Crew Tile’s and the Davises’ explanation of the

         origins of the Distributor Agreement includes the following:

         a.    Although the Distributor Agreement is dated December 8, 2009, the

               Davises allege that it was executed on December 14, 2009, without

               notation or correction. (Compare Ex. 46 at 1 with Tr. at 337, 915.) Ryan

               Davis’s “speculation” that this discrepancy was because of a desire to use

               the date on Crew Tile’s showroom lease (Tr. at 337), and the inconsistent

               explanation that the parties had planned to m eet on December 8 but that

               “plans changed” (id.; Tr. at 915), did not provide a credible explanation for

               why such a high stakes agreement would be backdated, with no

               correction, annotation or acknowledgment that this was being done. (ECF

               No. 343 at 8, ¶ 10.)

         b.    Despite the allegation that the Distributor Agreement was executed in

               December 2009, no contemporaneous evidence reflected preceding

               negotiations or exchange of drafts was admitted. The lack of any

               contemporaneous documentary record cast significant doubt on Ryan

               Davis’s explanation that despite “dozens and dozens” of phone

               conversations in which he negotiated for the Distributor Agreement, he

               “had never seen a full draft” before it was allegedly executed, when it was

               allegedly provided by Mr. Handley for the first time, and only in hardcopy.

               (See Tr. at 338.)

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         c.    No copies of the Distributor Agreement were located or produced during

               discovery other than the single purportedly original (i.e., ink-signed) copy

               relied upon by Crew Tile and copies transmitted in 2013 at the time of the

               communications precipitating this lawsuit.

         d.    Although Crew Tile alleged that the Distributor Agreement was originally

               executed in triplicate, only one copy was ever located or produced. The

               Davises’ testimony that they had retained a second copy for potential

               investors (which was lost) and that Porcelanosa retained a copy (which

               was never located or produced) lacked corroboration in the docum entary

               record. (See Tr. at 335

         e.    After Ryan Davis protested to Porcelanosa’s regional sales

               representative, Jeffrey Schnepp, in spring 2013 that Crew Tile held an

               exclusive distribution agreement, Mr. Schnepp asked Mr. Davis to provide

               a copy of the Agreement to attempt to resolve the parties’ disagreements.

               Mr. Davis did not provide a copy of the agreement until the later

               communications precipitating this litigation. (ECF No. 377-7 at 4.)

         f.    The earliest documentary evidence in the record of an agreement

               resembling the Distributor Agreement (other than the disputed document

               itself) is an editable and unexecuted copy of a similar agreement, drafted

               as an agreement between Crew Tile and non-party Sark Tile, Inc., that

               was transmitted by Darlyne Davis to CounterDefendant Shana

               Bastemeyer on April 14, 2013. (Ex. B22.) Crew Tile’s possession of this



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                  template agreement in editable format in 2013, and the existence of a

                  similar executed agreement with Sark Tile dated 2012 (Ex. A78)

                  significantly undercut the credibility of Crew Tile’s allegation that the

                  Distributor Agreement was prepared exclusively by Porcelanosa in 2009.

           g.     On April 19, 2013, five days after Darlyne Davis circulated the editable

                  Sark Tile agreement, Ms. Bastemeyer transmitted a scanned copy of the

                  2009 Distributor Agreement to other CounterDefendants. (Ex. B26.) No

                  documents produced in discovery other than the purportedly original copy

                  of the Distributor Agreement produced by Crew Tile (and disputed by

                  Porcelanosa) corroborated its existence before this date.8

    6.     In addition, the parties’ conduct during the relevant period was inconsistent with

           the terms of the claimed Distributor Agreement, providing contemporaneous

           evidence that makes it likely no exclusive distributor relationship existed.

           a.     Despite purporting to hold exclusive rights to distribute Porcelanosa

                  products in Colorado (outside Pitkin County), Crew Tile’s principals and

                  employees were aware that Porcelanosa’s products were also sold


           8
              In addition to the evidence cited above, Porcelanosa introduced the expert testimony of
    Ms. Wendy Carlson, a forensic document examiner/handwriting expert (see generally Tr. at
    1849–1973), who opined that it was “highly probable that Ryan Davis wrote the Jack Handley
    name” on the Distributor Agreement (Tr. at 1885–86), and also that Josep Domingot did not
    sign the purported 2004 “Exclusivity Agreement” related to ventilated facades (Tr. at 1869; see
    also infra ¶ 20.c.). Although Ms. Carlson was credible as a witness in explaining her opinions
    and how she reached them, the Court also found that Crew Tile’s cross-examination was
    effective in showing these opinions should be given comparatively lesser weight. Moreover,
    even without considering Ms. Carlson’s testimony, a preponderance of other evidence supports
    the findings set out in this Order, which are sufficient to resolve the parties’ equitable claims
    and defenses. This makes reliance on Ms. Carlson’s testimony unnecessary so the Court
    does not consider or rely on it.

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               through other channels in Colorado. (ECF No. 375 at 11, ¶ 2; ECF No.

               379 at 10, ¶ 2; Tr. 218–19.) Crew Tile’s explanation that such sales were

               permitted as Porcelanosa’s “national accounts,” bore no relationship to

               any terms in of the Distributor Agreement.

         b.    Despite the Distributor Agreement’s term that Crew Tile “agree[d] not to

               represent or sell other products which are deemed to be competitive with

               [Porcelanosa’s] Product[s] unless agreed to by [Porcelanosa],” Crew Tile

               sold and/or attempted to sell the products of other manufacturers

               (including Alcalegres). (Tr. 278, 1138; Ex. A37.) While the parties

               contested whether such products were “competitive,” Crew Tile never

               sought Porcelanosa’s approval to represent or sell the products of another

               tile manufacturer. (Tr. at 1210–11.)

         c.    The terms of the Distributor Agreement required Crew Tile to establish

               and maintain “appropriate, attractive and accessible premises and

               facilities for the display and demonstration of [Porcelanosa’s] Products.”

               (Ex. 46 at 2, ¶ II.1.A.) However, in March 2012 Crew Tile was evicted

               from its showroom at the Denver Design Center. (ECF No. 375 at 17,

               ¶ 52; ECF No. 379 at 14, ¶ 52.) Crew Tile thereafter operated out of a

               warehouse space, not a display facility. (See Tr. at 146, 1242.) Crew Tile

               never informed Porcelanosa it had been evicted because, as Darlyne

               Davis testified, “[w]e didn’t think it was their business.” (Tr. at 1027–28;

               1243–44.)



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         d.    Crew Tile purchased products from Porcelanosa in “the same price group

               as any dealer,” rather than receiving preferential or more wholesale

               pricing, as would be expected for an exclusive distributor that was re-

               selling product to dealers. (See ECF No. 377-3 at 3.) The “platinum”

               pricing level given to Crew Tile was the same given to a high percentage

               of Porcelanosa dealers and “wasn’t really that exclusive a club.” (See Tr.

               at 794, 1142, 1803.) In the Court’s view this fact alone went a long way

               toward destroying the credibility of Crew Tile’s contention that it was an

               exclusive Porcelanosa distributor. Without the more advantageous pricing

               structure a legitimate distributor would normally enjoy in these

               circumstances, Crew Tile’s actual business model—that of a regular retail

               dealer allegedly selling product to other dealers who could purchase the

               same product directly from Porcelanosa at similar pricing levels—is

               absurd and illogical on its face.

         e.    Mr. Schnepp testified that Porcelanosa was a dealer, not a distributor, and

               that he was surprised when Ryan Davis claimed Crew Tile was a

               distributor. (ECF No. 377-7 at 3–4.)

         f.    A preponderance of the evidence reflected that Crew Tile did not maintain

               an inventory of Porcelanosa products for re-sale to other dealers, as a

               distributor would be expected to do. (See Tr. at 138–39; 1131–32; ECF

               No. 380-11 at 4; ECF No. 380-13 at 2, 10.)

         g.    The evidence reflected that during the time period when Crew Tile was



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               allegedly the exclusive distributor of Porcelanosa products in Colorado, it

               was regularly delinquent on payments due to Porcelanosa. (See, e.g.,

               Exs. B15, B16, B17, B18, B19.) In fact, the Davises’ prior company,

               Infinite Flooring & Design (“Infinite”), had a history of significant

               delinquency with Porcelanosa before December 2009. (See Exs. O, T.)

               This makes it highly unlikely that Porcelanosa—which the uncontroverted

               trial evidence established is the manufacturer of very highly-regarded,

               premier tile products, with a business presence all over the world—would

               make Crew Tile (i.e., the Davises) its exclusive Colorado distributor in

               December 2009.

         h.    Both before and after December 14, 2009, the Davises (on behalf of Crew

               Tile, Infinite Flooring, and Paradigm) executed dealer

               applications/agreements with Porcelanosa that bore no resemblance to

               the terms of the Distributor Agreement, nowhere mentioned exclusive

               distribution or sales rights, and explicitly abrogated any previous

               agreements between the parties. (Ex. 115, ECF No. 276-7 at 3, ¶ 11

               (March 28, 2012 application/agreement stating it “supersedes and takes

               [the] place of all prior Agreements between Porcelanosa and [Crew Tile]”);

               see also Exs. 29, 115, O, B11.)

         i.    Despite the Distributor Agreement’s terms making Crew Tile’s purported

               distributorship non-assignable and exclusive to Crew Tile, in 2012 the

               Davises created a second entity, Paradigm, which they used to sell



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                  Porcelanosa products as an alter ego to Crew Tile. No evidence shows

                  that the Davises attempted to amend the Distributor Agreement to

                  account for the operation of two affiliate companies. (See Ex. 46 at 1, ¶ 1;

                  infra ¶¶ 7–8.)

         j.       Overall, little evidence corroborated the testimony of the Davises and Ms.

                  Bastemeyer that Crew Tile had operated as a distributor rather than one

                  dealer among many. The contemporaneous documentary evidence

                  presented by Crew Tile to support this claim was demonstrably

                  inconclusive and not credible. This included documents that used the

                  term “distributor” in informal or non-binding contexts, use of the term by

                  Crew Tile itself, or documents reasonably subject to competing

                  interpretations. No corroborating non-party witnesses supported Crew

                  Tile’s claims other than Mr. Perry, whose knowledge was mostly based on

                  representations by Ryan Davis. For instance, no representative of a non-

                  party dealer testified that, as to them, Crew Tile acted as a Porcelanosa

                  distributor in Colorado.

         2.       Facts and Evidence Related to Veil-Piercing / Alter-Ego Liability Claim

                  a.     Paradigm

    7.   The Davises created Paradigm Tile & Stone Distributors LLC (“Paradigm”) in the

         fall of 2012; it was incorporated with the Colorado Secretary of State on

         September 17, 2012. (ECF No. 375 at 14, ¶ 30; Ex. B4; ECF No.379 at 14,

         ¶ 47.)



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    8.   A preponderance of the evidence shows that the Davises operated Paradigm as

         an alter ego entity for Crew Tile. Evidence supporting this finding includes the

         following:

         a.     On and around October 19, 2012, Shana Bastem eyer and Ryan Davis

                prepared a communication to customers stating that “[m]oving forward all

                communications will come through Paradigm . . . including all invoices. . . .

                please remit all payments . . . to Paradigm.” (Ex. B7.)

         b.     Paradigm submitted an account application to Porcelanosa on November

                14, 2012, listing Ryan Davis and Darlyne Davis as individuals authorized

                to charge to Paradigm’s account, and Ryan and Glenn Davis as

                Paradigm’s owners, and stated “current acct is Crew Tile.” (Ex. B11.)

                Glenn Davis testified this representation was “consistent with the way that

                we did the business,” and that it was “a family owned and run business.”

                (Tr. 1457.)

         c.     Darlyne Davis testified that Crew Tile and Paradigm “were actually two

                entities, but we ran them as one.” (Tr. at 1033.)

         d.     Shana Bastemeyer testified that Paradigm was “an affiliate company,” that

                she “didn’t make a distinction between the two,” in representing them to

                customers, that Paradigm was also a distributor of Porcelanosa’s products

                “[t]hrough Crew [Tile],” and that she and the Davises did business as both

                entities. (Tr. at 65, 181, 186, 191.)

         e.     After the Davises incorporated Paradigm, they maintained a single set of



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                books for both Paradigm and Crew Tile, and at critical times the two

                entities shared a single bank account. (Tr. 950–51.)

          f.    Crew Tile directed its customers to send payments to Paradigm’s

                accounts. (Tr. at 1034; supra ¶ 8.a.) Darlyne Davis testified this was to

                evade the Denver Design Center’s garnishment of Crew Tile’s bank

                accounts following Crew Tile’s 2012 eviction from its showroom and

                confession of judgment for unpaid rent. (Tr. at 1034.)

          g.    The Davises continued using “crewtiledistribution@yahoo.com” to send

                communications on behalf of both Crew Tile and Paradigm, including to

                Porcelanosa. (See, e.g., Ex. B15; Tr. at 185.)

          h.    The Davises’ explanation that Paradigm was intended to service a distinct

                client base from Crew Tile (see, e.g., Tr. at 65–66) was contradicted by

                the contemporaneous communications showing that all of Crew Tile’s

                customers were directed to send payments and communications to

                Paradigm instead of to Crew Tile, regardless of client or order type.

                b.     Other Entities

    9.    When Paradigm filed Articles of Incorporation with the Secretary of State, it

          disclosed the Radicchio Domestic Trust (the “Radicchio Trust”) as its registered

          agent. (Ex. B4.)

    10.   Non-party “alter ego defendant” the Radicchio Trust was formed on or around

          August 24, 2012. (ECF No. 375 at 20, ¶ 74; ECF No. 379 at 16, ¶ 74.) Glenn

          Davis testified that the Radicchio Trust was “my son’s” (i.e., Ryan Davis’s), and



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          that he was not familiar with it, did not know what its assets were, and “do[es] es

          not know for certain” whether it owns (or owned) any portion of Paradigm. (Tr. at

          1452.)

    11.   Non-party “alter ego defendant” the Stardust Domestic Trust (the “Stardust

          Trust”) was also formed by one or more of the Davises on or around August 24,

          2012, with assistance from the same attorney who helped them to create the

          Radicchio Domestic Trust and G&D Davis Holdings, LLC. (ECF No. 375 at 20,

          ¶¶ 70, 71; ECF No. 379 at 16, ¶¶ 70, 71.)

    12.   Defendant G&D Davis Holdings, LLC is a Nevada LLC, with an operating

          agreement executed on August 24, 2012. (ECF No. 375 at 23, ¶¶ 64–65.)

    13.   Non-party “alter ego defendant” the G&D Davis Holdings Trust is a trust created

          at around the same time as the other entities noted above; Glenn Davis is the

          managing trustee. (ECF No. 375 at 23, ¶¶ 66–67; ECF No. 379 at 15,

          ¶¶ 66–67.)

    14.   Ryan Davis is the Manager of the G&D Davis Holdings Trust and G&D Davis

          Holdings, LLC. (ECF No. 375 at 19, ¶ 67; ECF No. 379 at 15, ¶ 67.)

    15.   The Davises and their employees and investor, Mr. Perry, described their

          business entities collectively as a “family business.” (See, e.g. Tr. at 115, 258,

          904, 1362, 1374, 1399.) Darlyne Davis testified that “what I do in this company

          thing, Glenn and Ryan did; or what Ryan did, I and Glenn did. So we . . . might

          have different names, but we were all one when it came to the company.” (Tr. at

          914.)



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    16.   Glenn Davis testified that the purpose of the several entities created by the Davis

          family in August 2012 (including the trust entities) was to consolidate assets. (Tr.

          at 1451.) These entities were created with the assistance of the same attorney

          who handled the stipulation confessing to judgment in the litigation with the

          Denver Design Center, and Glenn Davis testified that the entities were created

          with the assistance of this attorney “to help us resolve the situation with [the]

          design center.” (Tr. at 1453.)

          3.     Credibility Considerations

    17.   The Court’s factual findings are informed by a determination that the testimony

          offered by the Davises (and to a lesser extent by Ms. Bastemeyer) was on the

          whole less credible than the testimony of the witnesses who established and

          corroborated Porcelanosa’s factual contentions.

    18.   The evidence showed a history of material misrepresentations, omissions, and or

          shifting explanations offered by the Davises at various times in connection with

          the material facts of this case in general, and with matters relevant to the alter

          ego liability counterclaim in particular, including the following:

          a.     In response to a lawsuit filed against Crew Tile and/or the Davises by non-

                 party Sark Tile, Inc., seeking to collect unpaid amounts due in Lancaster

                 County, Nebraska, Darlyne Davis represented to that court as of

                 December 27, 2012 that Crew Tile had “closed as of November 1, 2012

                 and no longer is doing business in the State of Colorado.” (Tr. 1031:19-

                 33:23; Ex. B12; Ex. B13.) At trial she conceded this was not true. Her



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               explanation that it was a simple mistake was not credible. The Court finds

               it more likely than not that this was a misrepresentation purposefully made

               to the Nebraska court in an effort to evade liability on Sark Tile’s claims.

         b.    In his individual bankruptcy petition filed in 2011, Ryan Davis did not

               disclose any ownership interest in Crew Tile, including no disclosure of the

               value of the purported Distributor Agreement and its $2.5 million

               guaranteed buyout provision. (Ex. A54 at 17–19.)

         c.    The Davises representations over time regarding the ownership and

               control of their various business entities were at times evasive and/or

               contradictory. For example:

               i.     At trial, Ryan Davis testified that Darlyne Davis was the owner of

                      Crew Tile. (Tr. at 500.) In 2009, Darlyne Davis likewise submitted

                      documents to Porcelanosa that listed herself as the only “owne[r],

                      partne[r], or corporate office[r].” (Ex. 29.) However, in 2010 Ryan

                      Davis signed corporate documents representing that he was the

                      “sole shareholder and director” of Crew Tile (Ex. A32), offering the

                      excuse at trial that he had been signing “on behalf of our family.”

                      (Tr. at 504.) Other evidence (as well as Crew Tile’s present

                      briefing) tends to show that Crew Tile is in fact 85% owned by Ryan

                      Davis and 15% by Mr. Perry. (Ex. A33.) As noted, however, Ryan

                      Davis disclosed no ownership in Crew Tile in his 2011 bankruptcy

                      petition. (Supra, ¶ 18.b.)



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                ii.    As to Infinite Flooring, Ryan Davis testified that he was “the owner,”

                       but also that “his parents” were additional owners and they “all put

                       money into it.” (Tr. at 313, 500.) In seeking to open a credit

                       account with Porcelanosa in 2004, Darlyne Davis represented that

                       she was the sole owner of Infinite, but the company’s K-1 forms

                       reflect that it was jointly owned by Ryan Davis (34%) and Darlyne

                       Davis (66%). (Ex. B69.) In his 2011 bankruptcy petition, Ryan

                       Davis disclosed Glenn Davis as 49% owner of an unspecified

                       partnership, evidently in reference to Infinite Flooring, since that

                       was the entity he disclosed as connected to the debts he soug ht to

                       discharge. (Ex. A54 at 11–12.)

                iii.   The Davises explanations that they were unsophisticated or did not

                       understand the structure of their own business entities were not

                       credible. This lawsuit has put the facts regarding those entities

                       directly at issue for several years. The Davises’ professed

                       confusion regarding their own closely-held entities at the time of

                       trial was, in the Court’s judgment, more evasive than confused.

    19.   The trial testimony of Ryan Davis and Darlyne Davis was highly prepared. The

          Davises testimony frequently emphasized irrelevant facts such as Ryan Davis’s

          military service and the fact that his grandfather “stormed the beaches of

          Normandy,” in obvious efforts to evoke jury sympathy rather than focusing on the

          relevant facts and evidence. (See, e.g., Tr. at 294, 1354.)



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    20.   The Davises dealings with Porcelanosa were less than honest and candid over a

          period of many years.

          a.    On approximately March 25, 2004, while Ryan Davis was then employed

                by Porcelanosa, Darlyne Davis submitted an account application to

                Porcelanosa on behalf of Infinite Flooring. She used her maiden name

                instead of Davis, although this was inconsistent with her legal name, her

                signature, and her usual practice over the course of many years . (Ex. D,

                ECF No. 376-5 at 4.) Her explanation that she “must not have been

                thinking too well” was not at all persuasive. (Tr. at 1002.) In the same

                document, she listed herself as the sole owner of Infinite flooring,

                although Ryan Davis was the owner. A few days later, Ryan Davis

                forwarded the application to a co-worker at Porcelanosa referring to

                Infinite Flooring as “they” and giving no indication he was affiliated with the

                company. (Ex. D, ECF No. 376-5 at 1.) More likely than not, these

                representations were a deliberate effort to conceal Ryan Davis’s

                involvement in Infinite Flooring from Porcelanosa.

          b.    Ryan Davis was terminated by Porcelanosa as a result of his efforts to

                open and operate Infinite Flooring and his failure to disclose this venture.

                Porcelanosa considered this an undisclosed conf lict of interest, and

                dishonest. (Tr. 1472–73, 1476, 1186; Ex. A.)

          c.    A document dated July 29, 2004—approximately eight days after Ryan

                Davis’s termination from Porcelanosa—purported to be a prior “Exclusivity



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               Agreement” for Infinite Flooring to have the “exclusive right to distribute”

               certain ventilated facade products manufactured by Porcelanosa. (Ex. J.)

               Although bearing the signature of the then-general manager of

               Porcelanosa-Los Angeles, Mr. Josep Domingot, Mr. Domingot testified

               that he was certain he had never signed this document. (Tr. at 1532–33.)

               The ventilated facade products were not approved for use in the United

               States at that time, and Mr. Domingot testified that “there was no

               Porcelanosa Group or Porcelanosa Grupo in Anaheim , California,”

               although the document bore the name of such an entity. (Tr. at 1534.)

               Mr. Domingot testified he would not have negotiated, and did not have

               authority to enter into, such a contract because “this [i.e., exclusive

               distribution rights] is one of the things that Porcelanosa does not finish

               [sic] this here with anybody,” and that he would never have signed a

               contract containing the errors in the document. (Tr. 1535.) Ryan Davis’s

               explanation that this was an agreement he and Mr. Domingot negotiated

               at the same time he was being terminated was not credible.

         d.    When Crew Tile was evicted from the Denver Design Center in 2012, it

               never informed Porcelanosa of this material fact; Porcelanosa learned of it

               only when Mr. Montilla attempted to visit the showroom location but found

               it empty. (Tr. at 1212.)




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                                           III. ANALYSIS

    A.     Crew Tile’s Claim for Unjust Enrichment/Quantum Meruit

           Although Crew Tile’s breach of contract claim failed before the jury, Crew Tile

    argues it should still prevail on its claim in the alternative for unjust enrichment or

    quantum meruit. (See ECF No. 370 at 17–21; ECF No. 379 at 2.) The Court finds that

    such an award is barred for two reasons.

           1.      Crew Tile’s Equitable Claims are Barred by Unclean Hands

           Claims for unjust enrichment or quantum meruit are equitable in nature. See

    Matter of Gilbert, 346 P.3d 1018, 1023 (Colo. 2015); Lewis v. Lewis, 189 P.3d 1134,

    1140 (Colo. 2008);. “Generally, ‘[o]ne who comes into equity must come with clean

    hands.’” Salzman v. Bachrach, 996 P.2d 1263, 1269 (Colo. 2000) (quoting Dan B.

    Dobbs, Law of Remedies § 2.4(2) (2d ed.1993)). Therefore, under the doctrine of

    “unclean hands,” “[m]any different forms of improper conduct may bar a plaintiff’s

    equitable claim.” Id. Courts apply this doctrine “when a plaintiff’s improper conduct

    relates in some significant way to the claim he now asserts,” and “the conduct need not

    be illegal.” Id.

           Crew Tile’s claim for equitable relief is barred under these principles. The Court

    has found above that Crew Tile, through its principals, falsified the alleged Distributor

    Agreement or participated in doing so. Crew Tile then sued Defendants on the basis of

    that document seeking to recover at least $2.5 million. These acts constitute a clear

    instance of “unclean hands” and bar Crew Tile from recovery in equity. At a minimum,

    even if the issue of falsification were an open question, a preponderance of the


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    evidence shows Crew Tile and its principals had reason to know the Distributor

    Agreement was not a valid and enforceable contract when they filed suit.

           Crew Tile argues that because the alleged falsification occurred in 2013, they

    should still be entitled to recover for their claim of unjust enrichment because it arose

    before that misconduct. This argument fails for two reasons. First, the Court disagrees

    with Crew Tile’s factual contention that it “was acting in good faith at all times between

    2009 and 2013,” and that the alleged wrongful conduct “occurred only after the quasi-

    contractual relationship between the parties ended in April 2013.” (ECF No. 379 at 4, 5

    (emphasis in original).) The evidence and facts quite clearly show otherwise. Crew Tile

    failed to inform Porcelanosa of its eviction from the Denver Design Center in 2012,

    although claiming to operate in good faith as Porcelanosa’s distributor, and although

    Porcelanosa had provided display materials for the showroom which it never recovered.

    (See generally Tr. at 834, 1574, 1775; ECF No. 375 at 18, ¶¶ 27–28.) Crew Tile sold

    potentially competing products with no effort to inform Porcelanosa or obtain its

    consent. (Supra ¶ 6.b.) Crew Tile refused to comply with Porcelanosa’s repeated and

    persistent requests to stop representing itself as the “exclusive” Colorado distributor of

    Porcelanosa products. (Supra ¶ 4.a.) In fact, Crew Tile (operating under an earlier

    name) held itself out as “exclusively offering Porcelanosa,” in Colorado even before

    December 2009, with no apparent legal or factual basis. (Ex. Z.) Crew Tile was also

    regularly delinquent in paying amounts due to Porcelanosa. (Supra ¶ 6.g.) This record

    strongly belies Crew Tile’s claims that it acted with candor and good faith in its dealings

    with Porcelanosa before April 2013 and independently bars recovery on Crew Tile’s



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    equitable claims.

           Second, even if it the falsification of the Distributor Agreement had been Crew

    Tile’s only misconduct, that is more than sufficient to bar any recovery in equity. The

    general rule that the relevant improper conduct must “relat[e] in some significant way to

    the claim,” Salzman, 996 P.2d at 1269, does not call for the strict chronological analysis

    for which Crew Tile argues. Under Crew Tile’s theory, a party that was entitled to

    equitable relief at any time in the past could never be later barred from recovery by

    “unclean hands,” no matter how egregious or closely related to the relevant facts the

    later conduct had been. Crew Tile cites no authority adopting such a blanket rule

    regarding timing, a rule which in the Court’s view would ill serve public policy. To the

    contrary, the doctrine of unclean hands gives “wide range to the equity court’s use of

    discretion in refusing to aid the unclean litigant. It is not bound by formula or restrained

    by any limitation that tends to trammel the free and just exercise of discretion.”

    Precision Instrument Mfg. Co. v. Auto. Maint. Mach. Co., 324 U.S. 806, 814–15 (1945).

    Having presided over the entire trial, and heard all the evidence, the Court has little

    trouble finding, in its discretion, that Crew Tile’s misconduct was inextricably intertwined

    with its claims against Porcelanosa, and as a consequence, Crew Tile’s claims are

    barred by the doctrine of unclean hands.

           2.     An Award for Crew Tile Would Contradict the Jury’s Findings

           In addition, an award in Crew Tile’s favor would be inconsistent with the jury’s

    verdict. The jury both rejected Crew Tile’s breach of contract claim, and also found that

    Crew Tile, Ryan Davis, and Darlyne Davis had together committed the tort of abuse of

    process. There is simply no way to square those jury findings with granting Crew Tile

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    an award in equity.

           “Under well settled principles, when a plaintiff brings both legal and equitable

    claims in the same action, the Seventh Amendment right to jury trial on the legal claims

    must be preserved by trying those claims first (or at least simultaneously with the

    equitable claims), and the jury’s findings on any common questions of fact must be

    applied when the court decides the equitable claims.” Colo. Visionary Acad. v.

    Medtronic, Inc., 397 F.3d 867, 875 (10th Cir. 2005). The Court must “giv[e] due effect

    to any findings necessarily implicit in a general verdict.” Id.

           Although the jury did not return a special verdict or make enumerated findings as

    the Court has done above, the Court still must give effect to the jury’s general verdict

    and necessarily implied findings. Id.9 The Court sees no way Crew Tile could prevail

    on its claim for unjust enrichment/quantum meruit given the jury’s findings and rejection

    of Crew Tile’s positions on both claims. The jury unanimously agreed either that there

    never was a valid contract between the parties or, at a minimum, that Crew Tile

    materially breached any contract it had with Porcelanosa. Further, the jury found Crew

    Tile’s own breach of contract claim was brought “not for the proper legal purpose for

    which such process is used, in that Crew Tile’s claim was devoid of reasonable factual

    support,” and that Crew Tile had acted intentionally and to Porcelanosa’s detriment.




           9
             No party requested a special verdict enumerating elements of any claim, or that the
    jury should return enumerated findings of fact. (See ECF No. 261 at 43–46; ECF No. 265.)

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    (ECF No. 343 at 34, 45.) 10 Any of these jury findings, either singly or in any one of a

    number of combinations, necessarily precludes recovery in equity by Crew Tile.

    B.     Veil-Piercing / Alter Ego Liability

           Porcelanosa argues that “the Alter Ego Defendants (i.e., G&D Davis Holdings,

    LLC, the Radicchio Domestic Trust, and the Stardust Domestic Trust) are the alter egos

    of Crew Tile, Ryan A. Davis and Darlyne A. Davis.” (ECF No. 375 at 7.) Porcelanosa

    also argues for “reverse veil piercing,” alleging that “[b]y divesting their assets to the

    Alter Ego Defendants, Ryan A. Davis and Darlyne A. Davis intentionally sheltered their

    individual assets. As a result, Ryan A. Davis and Darlyne A. Davis are likely incapable

    of satisfying debts owed by each individually and by Crew Tile.” (ECF No. 375 at 9.)

    Porcelanosa therefore asks the Court to impose liability on each of the identified “Alter

    Ego Defendants.” (Id. at 8–9.)

           “Traditional piercing penetrates the corporate veil and imposes liability on

    individual shareholders for the obligations of the corporation.” In re Phillips, 139 P.3d

    639, 644 (Colo. 2006). “Individual liability is appropriate when the corporation is merely

    the alter ego of the shareholder, and the corporate structure is used to perpetuate a

    wrong.” Id. (citations omitted). Although only recognized in “extraordinary

    circumstances,” when it is appropriate, “courts may ignore the independent existence of



           10
              Although Crew Tile would also have had to prove Porcelanosa materially breached the
    terms of the Distributor Agreement to prevail on its breach of contract claim, it was not
    materially disputed at trial that Porcelanosa’s actions would have been in violation of the
    Distributor Agreement, if it had been a valid and enforceable contract between the parties.
    Moreover, if there was a contract between the parties, then Crew Tile’s equitable claims
    necessarily fail as result. Pulte Home Corp., Inc. v. Countryside Cmty. Ass’n, Inc., 382 P.3d
    821, 833 (Colo. 2016) (“A party generally cannot recover for unjust enrichment . . . where there
    is an express contract addressing the subject of the alleged obligation to pay.”).

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    the business entity and pierce the corporate veil to achieve an equitable result.” Id.

           Relatedly, “[r]everse piercing occurs when a claimant seeks to hold a corporation

    liable for the obligations of an individual shareholder.” Id. “Two types of reverse

    piercing exist: inside and outside claims.” Id. As relevant here, “[o]utside reverse

    piercing claims occur when a corporate outsider ‘pressing an action against a corporate

    insider seeks to disregard the corporate entity [and] to subject corporate assets to the

    claim’ or when an outsider ‘with a claim against a corporate insider seeks to assert that

    claim against the corporation in an action between the claimant and the corporation.’”

    Id. at 645 (quoting Gregory S. Crespi, The Reverse Pierce Doctrine: Applying

    Appropriate Standards, 16 J. Corp. L. 33, 55 (1990)). In other words, “[o]utside reverse

    piercing actions involve a corporate outsider seeking to obligate a corporation for the

    debts of a dominant shareholder or other corporate insider.” Id.

           “Both types of piercing strive to achieve an equitable result.” Id. Under either

    theory, Colorado courts consider three factors: (1) whether the corporate entity is the

    alter ego of the third party, such that the corporation is a “mere instrumentality” for the

    third party and a “unity of interest” exists such that both entities may be considered one;

    (2) whether justice requires disregarding the corporate form “because the corporate

    fiction was used to perpetrate a fraud or defeat a rightful claim”; and (3) “whether an

    equitable result will be achieved by disregarding the corporate form and holding the

    [third party] personally liable for the acts of the corporation.” Id. at 644, 646. “A

    claimant seeking to pierce the corporate veil must make a clear and convincing showing

    that each consideration has been met.” Id. at 644; Swinerton Builders v. Nassi, 272

    P.3d 1172, 1177 (Colo. App. 2012).

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           As to the first of these three considerations (whether the corporate entity is an

    “alter ego” of the other party), “[a]n alter ego relationship exists when the corporation is

    a ‘mere instrumentality for the transaction of the shareholders’ own affairs, and there is

    such unity of interest in ownership that the separate personalities of the corporation and

    the owners no longer exist.’” Phillips, 139 P.3d at 644 (quoting Krystkowiak v. W.O.

    Brisben Co., Inc., 90 P.3d 859, 867 n.7 (Colo. 2004)).

                  In establishing whether such unity of interest exists as to
                  disregard the corporate fiction and treat the corporation and
                  shareholder as alter egos, courts consider a variety of
                  factors, including whether (1) the corporation is operated as
                  a distinct business entity, (2) funds and assets are
                  commingled, (3) adequate corporate records are
                  maintained, (4) the nature and form of the entity’s ownership
                  and control facilitate misuse by an insider, (5) the business
                  is thinly capitalized, (6) the corporation is used as a mere
                  shell, (7) shareholders disregard legal formalities, and
                  (8) corporate funds or assets are used for noncorporate
                  purposes.

    Id. at 644. “These factors reflect the underlying principle that the court should only

    pierce when the corporate form has been abused.” Id.

           Since Ryan Davis and Darlyne Davis are already liable individually under the

    jury’s verdict, Porcelanosa’s veil-piercing arguments are unnecessary and therefore

    denied to the extent they seek a duplicative basis for individual liability against Ryan or

    Darlyne Davis. Floyd v. I.R.S., 151 F.3d 1295, 1300 (10th Cir. 1998) (“[D]isregard of

    the corporate form is an equitable remedy. As a consequence, it is appropriately

    granted only in the absence of adequate remedies at law.”). Therefore, the relevant

    determinations here are whether any of the additional entities or their owners other than

    Ryan and Darlyne Davis should be held liable in equity, including whether Glenn Davis


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    might be liable as an owner of one or more of the entities identified, despite the lack of

    evidence showing he was individually culpable.11

           1.     Crew Tile

            Porcelanosa’s overall veil-piercing theory pursues the assets of the “alter ego”

    entities, given its fear that Crew Tile, Ryan Davis, and Darlyne Davis will prove not to

    own assets sufficient to satisfy Porcelanosa’s judgment against them. (ECF No. 375 at

    7, 9.) Porcelanosa does not appear to be advancing a claim of traditional veil-piercing

    to make the owners of Crew Tile liable. (See id.) Given the lack of a “clear and

    convincing” showing, the Court rejects such a claim to any extent it is asserted.

           While the record may reflect improper corporate records or abuse of formalities

    by Crew Tile, a preponderance of the evidence shows its shareholders are (or were)

    Ryan Davis and Mr. Perry. Veil-piercing to impose liability against Ryan Davis is

    unnecessary and improper, since he is already personally liable. Floyd, 151 F.3d at

    1300. As to Mr. Perry, Porcelanosa does not appear to seek liability against him, and

    its veil-piercing arguments do not mention him. (See ECF No. 375 at 6–10.) Mr. Perry

    has never been a named defendant or served process, is only a minority shareholder,

    and Porcelanosa does not claim he participated in Crew Tile’s tortious acts.

    Porcelanosa has not met the burden of showing that veil-piercing liability should attach

    to Mr. Perry, or to any other unidentified shareholders of Crew Tile Distribution, Inc.




           11
               The Court entered Judgment as a Matter of Law against Porcelanosa’s pending
    claims against Glenn Davis, ruling that insufficient evidence had been introduced to hold him
    liable on Porcelanosa’s claims of abuse of process or civil conspiracy. (ECF No. 341; Tr. at
    2167.) The Court’s ruling on equitable claims also reflects its determination that Porcelanosa
    introduced insufficient evidence to hold Glenn Davis liable.

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           2.     Paradigm

           The Court finds that reverse veil piercing is appropriate to make Paradigm liable

    for the obligations of Ryan Davis, Darlyne Davis, and Crew Tile. All of the relevant

    considerations favor imposing alter ego liability based on or reverse veil-piercing.

           First, the record makes clear that Paradigm was created and operated as an

    alter ego to Crew Tile, and for the Davises to the extent they were liable for Crew Tile’s

    debts and sought to evade them by using Paradigm as an alter ego. The Davises

    disregarded virtually all corporate formalities, operating Paradigm and Crew Tile as an

    interchangeable single entity, commingled their funds and assets, structured the

    ownership and control to facilitate misuse, and used Paradigm’s funds and assets for

    noncorporate purposes by using the names, e-mails, bank accounts, and essentially all

    assets of the two entities interchangeably, keeping a single set of books and a single

    bank account, and acknowledging the two entities operated as one.

           Second, the acknowledged reason for diverting payments from Crew Tile to

    Paradigm (i.e., commingling of funds) was to evade the garnishment of Crew Tile’s

    bank account and thereby defeat payment of a rightful claim. While the Davises

    characterize their actions as being “for [their] convenience” (see Tr. at 951), it is

    manifestly obvious to the Court that Paradigm was created and operated “to perpetrate

    a fraud or defeat a rightful claim.” See Phillips, 139 P.3d at 644.

           Third, an equitable result will be achieved by holding Paradigm liable for the

    obligations of Ryan Davis, Darlyne Davis, and Crew Tile in this action. The Davises

    themselves acknowledged operating Paradigm and Crew Tile as one and the same,

    and this conduct was bound up in the course of their misrepresentations as to their

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    relationship with Porcelanosa and their efforts to evade Crew Tile’s obligations. In the

    circumstances of this case, where each of Ryan Davis, Darlyne Davis, and Crew Tile

    are liable for a tort against Porcelanosa, and where they purposefully used Paradigm

    and Crew Tile interchangeably in their dealings with Porcelanosa, Paradigm should be

    held equally liable for the jury’s judgment in Porcelanosa’s favor.12

           3.      Other “Alter Ego” Entities

           As to the other “alter ego” entities, including named CounterDefendant G&D

    Davis Holdings LLC, and non-parties, the G&D Davis Holdings Trust, the Radicchio

    Trust, and the Stardust Trust, Porcelanosa has not met its burden of making a “clear

    and convincing” showing to support its request for reverse veil piercing or for any other

    theory of “alter ego” liability.

           Initially, while G&D Davis Holdings LLC and Paradigm were named and added

    as parties to this action, none of the other entities (including the Radicchio Trust, the

    Stardust Trust, or the G&D Davis Holdings) against which Porcelanosa is evidently

    trying to impose liability were ever named or added as parties to this actions.

    (See generally ECF No. 132.) These other entities, although described in a few parts of

    Porcelanosa’s pleading as “alter ego defendants,” were not enumerated as parties and

    were never included in the caption on any of Porcelanosa’ filings. (Id.; see also ECF

    No. 250.) More importantly, so far as the Court’s review of the docket reveals, these

    additional entities were never served with process in this action and have never



           12
               To any extent Porcelanosa seeks traditional veil piercing to make the owners of
    Paradigm liable as owners, that request is rejected for the same reasons the Court rejects any
    traditional veil piercing claim as to Crew Tile. See Part III.B.1, supra.

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    appeared to have their interests represented. In short, although the

    CounterDefendants do not raise this issue the Court has serious doubt that it has

    obtained jurisdiction over these entities or could enter judgment against them. See

    generally Fed. R. Civ. P. 4(c) & 5(a)(1)(B).

           Regardless, Porcelanosa has not met its burden to show entitlement to veil

    piercing or alter ego liability as to any entity other than Paradigm. Veil piercing is only

    appropriate in “extraordinary” circumstances, and requires a “clear and convincing”

    showing by the party requesting it. In re Phillips, 139 P.3d 639, 644 (Colo. 2006). The

    evidence introduced at trial by Porcelanosa fell well short of discharging this burden.

           The record reflects that the other entities were all created around the same time

    in 2012, with the assistance of the same attorney who represented the Davises in their

    dispute with the Denver Design Center. While the timing and relationship of these

    actions, as well as the testimony of Glenn Davis regarding their origins, might support a

    finding that these entities were created in part to shelter certain assets (including Glenn

    and Darlyne Davis’s residence) from the Denver Design Center’s judgment, that is the

    most the evidence could show. No evidence supports a finding that such asset

    protection was fraudulent or improper, rather than a permissible use of these legal

    means to manage and protect assets, or for estate planning. Moreover, to the extent

    these entities were created in response to the Denver Design Center judgment, that

    obligation is only tangentially related to the present liability to Porcelanosa.

           Further, unlike Paradigm, essentially no evidence was introduced to establish

    what assets these entities hold, or reflecting impropriety in their recordkeeping,

    finances, or in the observance of other formalities. Other than establishing that they

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    were created at the same time and used Glenn and Darlyne Davises’ residential

    address, the record is mostly silent as to these entities. Porcelanosa theref ore cannot

    meet its burden of a clear showing that these entities were no more than “alter egos” or

    “mere instrumentalities” of the Davises or any other entity.

           4.     Glenn Davis

           As with veil piercing of Crew Tile, Porcelanosa’s briefing does seem to advance

    a separate argument that Glenn Davis should be individually liable, other than the veil-

    piercing theories addressed above. Only for purposes of clarity, and consistent with the

    Court’s grant of judgment as a matter of law at trial, supra note 10, the Court reiterates

    that Glenn Davis is not individually liable in this action.

    C.     Attorneys’ Fees

           Porcelanosa also requests an award of attorneys’ fees pursuant to the Court’s

    “inherent equitable power to sanction” Crew Tile and the Davises’ conduct. (ECF No.

    375 at 10–11.) Although the Court is troubled by the evident misuse of judicial

    processes in this case, it rejects Porcelanosa’s request for two reasons.

           First, Porcelanosa has not made a sufficient showing to support an award of

    fees. Porcelanosa’s opening argument on this point spans less than a page of briefing.

    (ECF No. 375 at 14–15.) It nowhere identifies what amount of attorneys’ fees

    Porcelanosa might actually be requesting, nor includes argument or evidence showing

    its hourly or total amount of fees were reasonable. (ECF No. 375 at 14–15.) Among

    other shortcomings, Porcelanosa’s request falls short of the requisite showing of “but-

    for” causation, under which a party seeking a fee award as a sanction may recover

    “only the portion of his fees that he would not have paid but for the misconduct.”

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    Goodyear Tire & Rubber Co. v. Haeger, 137 S. Ct. 1178, 1187 (2017). By failing to

    make any factual or evidentiary submission, Porcelanosa has not met this requirement.

    The Court will not award fees on such a blank record. 13

           Second, an award of fees here would be contrary to the jury’s verdict. At trial,

    Porcelanosa was entitled to seek recovery of its attorneys fees as part of its request for

    consequential damages for abuse of process, and Porcelanosa did seek such a

    recovery. (See ECF No. 343 at 47.) However, Porcelanosa introduced only a bare

    minimum of evidence regarding its claimed damages. The only evidence admitted was

    the testimony of Porcelanosa’s corporate witness, Mr. Manuel Prior, that Porcelanosa’s

    internal costs in investigating and defending Crew Tile’s claim were “around . . .

    $460,000,” and that its costs including attorneys’ fees had been “something close to

    $1.6 million.” (Tr. at 1825.) After hearing this testimony, the jury awarded Porcelanosa

    only $460,000. (ECF No. 355.) This amounts to a clear rejection of Porcelanosa’s

    claim for the larger amount, including its attorneys’ fees, reflecting a jury finding that

    Porcelanosa failed to discharge its burden of proof on its request for attorneys’ fees.

    The Court will not invoke its inherent authority to grant the same request for attorneys’

    fees that the jury already rejected. Cf. Colo. Visionary Acad., 397 F.3d at 875.

                                         IV. CONCLUSION

           For the reasons set forth above, the Court ORDERS as follows:



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              For example, Porcelanosa makes no attempt to distinguish the amount of fees it
    incurred in defending against Crew Tile’s sham claims, and therefore as a consequence of
    Crew Tile’s actions, as opposed to the amount of fees attributable to prosecuting Porcelanosa’s
    own counterclaims, including those which the Court found lacked legal and/or evidentiary
    support at the summary judgment phase.

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    1.   Judgment is entered in favor of all Defendants and against Plaintiff on all of

         Plaintiff’s equitable claims, including its claim(s) for unjust enrichment/quantum

         meruit;

    2.   Judgment is entered in favor of CounterClaimants and against

         CounterDefendant Paradigm Tile & Stone Distributors, LLC on

         CounterClaimants’ claims for declaratory judgment and piercing the corporate

         veil, as follows:

         a.     The Court DECLARES that CounterDefendant Paradigm Tile & Stone

                Distributors, LLC is and was at relevant times an alter ego of

                CounterDefendants Crew Tile Distribution, Inc., Ryan A. Davis, and

                Darlyne A. Davis;

         b.     Paradigm Tile & Stone Distributors, LLC is therefore jointly and severally

                liable for the liabilities in this action of CounterDefendants Crew Tile

                Distribution, Incorporated; Ryan A. Davis’ and Darlyne A. Davis;

    3.   Judgment is entered against CounterClaimants and in favor of all

         CounterDefendants other than Paradigm Tile & Stone Distributors, LLC on

         CounterClaimants’ equitable claims for declaratory judgment and piercing the

         corporate veil;

    4.   Defendants’/CounterClaimants’ request for an award of attorneys fees as a

         sanction pursuant to the Court’s inherent authority is DENIED;

    5.   Consistent with the foregoing and with the jury’s verdict (ECF No. 355), the Clerk

         shall enter Final Judgment in this matter, making CounterDefendants Crew Tile

         Distribution, Incorporated; Paradigm Tile & Stone Distributors, LLC; Ryan A.

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         Davis; and Darlyne A. Davis jointly and severally liable to CounterClaimants in

         the amount of $460,000.00.


         Dated this 2nd day of November, 2017.

                                                         BY THE COURT:




                                                         William J. Martínez
                                                         United States District Judge




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